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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig MDL No. 2179
“Deepwater Horizon” in the

Gulf of Mexico, on
April 20, 2010 Section: J

This Document Relates to: Judge Barbier
Mag. Judge Shushan
2:10-cv-08888-CJB-SS, Document 111020

ORDER ON MOTION TO WITHDRAW

Pursuant to a Motion to Withdraw filed on or about March __, 2012 it is hereby
ordered that counsel Alex Peet is permitted to withdraw from representation of Charles

Gaddis and Gaddis Enterprises, who will now proceed pro se.

Date:

United States Magistrate Judge
